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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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AZIMA et al,

                                            Plaintiffs,                          ORDER

                          -against-                                      22-CV-8728 (PGG) (JW)

DECHERT LLP et al,

                                             Defendants.
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JENNIFER E. WILLIS, United States Magistrate Judge:

        This Court has been referred the pending Motion to Dismiss. Dkt. No. 169.

Both the Plaintiffs and the Defendants requested oral argument. Dkt. Nos. 160, 168.

Oral argument will be held on January 30, 2024, at 2:30 pm in Courtroom 228, 40

Foley Square, New York, New York.

        SO ORDERED.

DATED:           New York, New York
                 January 10, 2024
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                                                              JENNIFER E. WILLIS
                                                              United States Magistrate Judge
